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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                        MDL No. 2873


                                       TRANSFER ORDER


        Before the Panel:* There are two motions under 28 U.S.C. § 1407 to centralize pretrial
proceedings in this litigation. Defendants Tyco Fire Products, LP, and Chemguard, Inc. (collectively,
Tyco) move to centralize the 75 actions listed on Schedule A in the District of Massachusetts or,
alternatively, the Southern District of New York. All of the actions on Schedule A involve
allegations that aqueous film-forming foams (AFFFs, which are used to extinguish liquid fuel fires)
contaminated the groundwater near certain airports and other industrial locations with
perfluorooctane sulfonate (PFOS) and/or perfluorooctanoic acid (PFOA), which allegedly were
contained in the AFFFs and are toxic.

        Defendant 3M Company joins Tyco’s motion and separately moves to include an additional
nine actions in the MDL. These actions, which are listed on Schedule B, do not involve allegations
relating to AFFFs, but 3M’s manufacture of per- or polyfluoroalkyl substances (PFAS, an umbrella
term that includes PFOS and PFOA). Specifically, each of these actions names 3M as a defendant
and relates to (a) its sale of PFAS or other PFAS-containing products to third-parties,1 or (b) 3M’s
manufacture, management, or disposal of PFAS in connection with its manufacturing facilities.2 The
actions listed on Schedule B are referred to as the non-AFFF actions.

        Together, the two Section 1407 motions encompass 84 actions pending in twelve districts.
Additionally, the Panel has been notified of sixteen related actions pending in nine districts. Ten of
these related actions appear to involve AFFF claims, while six involve non-AFFF claims.3


       *
           Judges Sarah S. Vance and Ellen Segal Huvelle took no part in the decision of this matter.
       1
         PFAS chemicals, and in particular PFOA and PFOS, repel oil, grease, and water. They
were widely used for many years in the manufacture of many products, including food packaging,
stain repellants, furniture fabrics, and cookware.
       2
        3M also requests the MDL caption be changed to In re: PFAS Products Liability and
Environmental Liability Litigation. Because we deny 3M’s motion to expand this MDL beyond
AFFF actions, we likewise deny this request.
       3
           The related actions involving AFFF claims, as well as any other related actions involving
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        The responding parties take a variety of positions with respect to centralization and the
selection of the transferee district for this litigation. Tyco takes no position on 3M’s motion to
expand the MDL to include non-AFFF cases. The other AFFF-manufacturer defendants support
Tyco’s motion. Defendants United Technologies Corporation, Kidde PLC Inc., Kidde-Fenwal, Inc.,
and UTC Fire & Security Americas Corporation, Inc., take no position on 3M’s motion. Defendants
National Foam, Inc., and Buckeye Fire Equipment Company, in contrast, oppose inclusion of
non-AFFF actions. All AFFF manufacturing defendants support D. Massachusetts or S.D. New
York as the transferee district.4

        Two AFFF governmental defendants (County of Suffolk and Town of East Hampton) also
support or do not oppose centralization, though East Hampton suggests the Eastern District of New
York as the transferee district. Plaintiffs in 64 actions and four potential tag-along actions either do
not oppose or support centralization of all PFAS actions (i.e., both AFFF and non-AFFF actions).
Plaintiffs in six AFFF actions pending in the District of Colorado and the Eastern District of
Pennsylvania (including interim lead class counsel in both districts) oppose centralization. Plaintiffs
in seven non-AFFF actions, as well as defendants Wolverine World Wide, Inc., and E.I. du Pont de
Nemours and Company, oppose inclusion of the non-AFFF actions in this MDL. All of the plaintiffs
support the Southern District of Ohio as the transferee district if an MDL is created, while certain
of the plaintiffs also propose centralization in the Northern District of Alabama, the District of
Colorado, or the District of New Jersey.

        Additionally, a number of parties oppose inclusion of their respective actions in any
centralized proceeding. With respect to the AFFF actions, plaintiffs in two actions pending in the
District of Colorado request, in the event the Panel creates an MDL, that the consolidated Bell class
actions in that district be excluded from the MDL.5 Plaintiff and six groups of non-manufacturer


        3
         (...continued)
similar claims, are potential tag-along actions. See Panel Rules 1.1(h), 7.1, and 7.2. Several parties
argue against the transfer of two of these related actions (Hardwick, pending in the Southern District
of Ohio, and State of New York, pending in the Northern District of New York). These arguments
are premature. See In re DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prods. Liab. Litig., 787
F. Supp. 2d 1358, 1360 (J.P.M.L. 2011) (“Because this action is a potential tag-along action,
plaintiffs’ arguments are premature, and we decline to grant plaintiffs’ request at this time. The
proper approach is for plaintiffs to present their arguments by moving to vacate if we issue an order
conditionally transferring their action to the MDL. See Rule 7.1. Or plaintiffs may request that the
transferee judge remand their action to the transferor court. See Rule 10.1.).
        4
          National Foam alternatively suggests the Eastern District of Pennsylvania as the transferee
district in its Notice of Presentation of Oral Argument.
       5
            Plaintiffs in one of these actions (Gregory Bell) alternatively request the Panel create
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defendants in the City of Newburgh action pending in the Southern District of New York ask us to
exclude that action from any MDL. Several of these parties alternatively request the Panel separate
and remand plaintiff’s claims against the non-manufacturers to the transferor court (though one
defendant opposes this). If centralized, two of the defendant groups request the Southern District
of New York as the transferee district. With respect to the nine non-AFFF actions, at least one party
in each action opposes its inclusion in the MDL.6

           On the basis of the papers filed and hearing session held, we find that the AFFF actions
listed on Schedule A involve common questions of fact, and that centralization will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation.
In each of these actions, plaintiffs allege that AFFF products used at airports, military bases, or
certain industrial locations caused the release of PFOA or PFOS into local groundwater and
contaminated drinking water supplies. With some minor variations, the same group of AFFF
manufacturer defendants is named in each action. These actions thus share factual questions
concerning the toxicity of PFOA and PFOS and their effects on human health; the chemical properties of these
substances and their propensity to migrate in groundwater supplies; the knowledge of the AFFF manufacturers regarding
the dangers of PFOA and PFOS; their warnings, if any, regarding proper use and storage of AFFFs; and to what
extent, if any, defendants conspired or cooperated to conceal the dangers of PFOA and PFOS in their products.
Additionally, the AFFF manufacturers likely will assert identical government contractor defenses
in many of the actions. Centralization will eliminate duplicative discovery; prevent inconsistent
pretrial rulings (including with respect to discovery, privilege, and Daubert motion practice); and
conserve the resources of the parties, their counsel, and the judiciary.

        Opponents of centralization focus on the factual differences among the actions. First, they
contend that location-specific factual issues will predominate over the common AFFF factual issues.
Were this litigation limited to only a few actions, as in In re Monsanto PCB Water Contamination
Litigation, 176 F. Supp. 3d 1379 (J.P.M.L. 2016), the presence of site-specific contamination issues

         5
        (...continued)
multiple MDLs to address the various categories of actions at issue in the AFFF litigation. Doing
so, however, would result in unnecessary duplication with respect to common discovery. We
therefore decline this alternative request.
        6
          Specifically, plaintiff in the action pending in the District of Minnesota opposes inclusion
in the MDL and, alternatively, suggests the Southern District of Ohio as the transferee district.
Plaintiff and Defendant Wolverine alternatively requests the Panel exclude the action pending in the
Western District of Michigan, as well as any other action involving Wolverine. Plaintiff and two
local defendants oppose inclusion of the Tennessee Riverkeeper action, pending in the Northern
District of Alabama, while another local defendant (Daikin America, Inc.) opposes inclusion of any
of the Alabama actions. Defendants Saint-Gobain Performance Plastics Corporation and Honeywell
International Inc., as well as DuPont, oppose inclusion of the actions pending in the Northern District
of New York. Finally, plaintiff and Defendant Georgia-Pacific LLC oppose inclusion of a related
non-AFFF action pending in the Western District of Michigan.
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would weigh heavily against centralization. But, here we are presented with 75 AFFF actions
pending in eight districts, and that number is likely to grow significantly.7 Given the large numbers
of involved actions and districts, alternatives to centralization (such as informal coordination and
cooperation among counsel and the courts) are impracticable. In similar circumstances, we have
centralized groundwater contamination cases despite the presence of multiple contamination sites.
See In re Methyl Tertiary Butyl Ether Prods. Liab. Litig., MDL No. 1358, 2000 U.S. Dist. LEXIS
14901 (J.P.M.L. Oct. 10, 2000). The efficiencies to be gained through centralized treatment of
common factual questions in such a large litigation are considerable.8

        Opponents of centralization also argue that the causes of action and parties in the AFFF
actions differ so significantly that any efficiencies from centralization will be offset by delay. These
actions include personal injury cases brought by individuals who allegedly drank contaminated
groundwater, class actions seeking to represent individuals who live near sites where AFFF was used
and assert claims for medical monitoring and property damage, and cases brought by water
authorities and other governmental entities seeking costs for environmental remediation or upgrades
to water treatment systems. Even so, all the AFFF actions involve the same mode of groundwater
contamination caused by the same product.9 Therefore, these actions will involve significant and
overlapping discovery of the AFFF manufacturers and their products. To the extent the actions entail
unique factual or legal issues, the transferee court has the discretion to address those issues through
the use of appropriate pretrial devices, such as separate tracks for discovery and motion practice.10


       7
          The 44 actions pending in the District of Colorado, for instance, encompass several
thousand plaintiffs. Additionally, we centralized another litigation involving allegations of PFOA
contamination of groundwater in In re E.I. du Pont de Nemours and Company C-8 Personal Injury
Litigation, 939 F. Supp. 2d 1374 (J.P.M.L. 2013). The C-8 Litigation involved only one
contamination site, yet grew to over 3,000 individual actions at its height.
       8
         Indeed, the C-8 Litigation, which was much discussed by the parties in their papers and at
oral argument, involved fewer common factual questions to be resolved by the transferor court
because questions of general causation with respect to PFOA had been resolved through a prior state
court class settlement between DuPont and plaintiffs. In contrast, whether plaintiffs asserting
personal injury here can show there is scientifically reliable evidence of a causal connection between
AFFF products allegedly discharged into the environment and harm to plaintiffs (i.e., whether PFOS
or PFOA can, as a general matter, cause human illness) remains to be litigated.
       9
         According to the parties, the original AFFF formulation was developed by the U.S. military
in the 1960, and all subsequent AFFF products were manufactured in compliance with a common
military specification. See Mil-F-24385F (1992). Thus, while there may be some differences
between AFFF products manufactured by different defendants, these differences are unlikely to
significantly complicate the pretrial management of this litigation.
       10
            Two water authority plaintiffs have indicated their intent to ask the transferee court to
                                                                                       (continued...)
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And, should the transferee court determine that continued inclusion of certain actions or categories
of actions in the MDL no longer is appropriate, the transferee court may recommend Section 1407
remand of those actions in advance of other actions. See In re McCormick & Co., Inc., Pepper
Prods. Mktg. & Sales Practices Litig., 148 F. Supp. 3d 1364, 1366 (J.P.M.L. 2015).

        We will not exclude any of the AFFF actions from the MDL. The Colorado plaintiffs argue
that the consolidated Bell class actions in the District of Colorado are too advanced to warrant
transfer. While those actions are the most procedurally advanced AFFF actions, the only discovery
completed to date pertains to class certification.11 Significant common discovery and pretrial motion
practice pertaining to liability and general causation remain, and will benefit from inclusion in the
centralized proceedings.

        In contrast to Bell, the City of Newburgh action in the Southern District of New York was
only recently filed. The parties opposing its inclusion in the MDL—both plaintiff and numerous
non-manufacturing defendants, including the United States and the State of New York—argue that
City of Newburgh involves unique environmental claims against non-manufacturer plaintiffs. City
of Newburgh, though, also involves negligence and strict liability claims against the AFFF
manufacturer defendants that are substantially similar to those in the other AFFF actions. To the
extent the City seeks unique or time-sensitive injunctive relief pertaining to its water supplies, the
City can and should raise such concerns with the transferee court. Furthermore, six other actions
(three on Tyco’s motion and three potential tag-alongs) involve the same allegations regarding
contamination of the City’s water supply through use of AFFFs at New York Stewart International
Airport. Excluding City of Newburgh thus would result in a duplication of efforts.12

         We agree, however, that the non-AFFF actions listed on Schedule B should not be included
in this MDL. These nine actions are quite different from the AFFF actions and, indeed, from each


        10
         (...continued)
create separate tracks for the water authority plaintiffs. We take no position on whether separate
tracking is warranted, but leave this decision to the discretion of the transferee court.
       11
           The Colorado court held a class certification hearing on November 30, 2018, but declined
to rule on plaintiffs’ motion prior to this Panel’s decision on centralization. The court also indicated
that a further hearing and additional expert testimony would be necessary before a decision on
plaintiffs’ certification motion can be rendered.
       12
          We also deny certain parties’ alternative request to separate and remand the claim against
the non-manufacturer defendants to the Southern District of New York. These claims appear
inextricably linked to the claims against the manufacturer defendants—for example, Defendant SWF
Airport Acquisition, Inc., argues that such separation and remand will hinder its ability to assert
cross-claims against the manufacturer defendants. If the parties continue to believe that separation
and remand of these claims is appropriate, they may request the transferee court issue a suggestion
of remand to that effect.
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other. They include discharges directly into the Tennessee River by various industrial concerns in
Decatur, Alabama; contamination originating from a shoe manufacturer’s industrial waste; and
airborne PFAS discharges from factories in Hoosick Falls, New York. These actions thus are
different in kind from the AFFF actions and involve more varied defendants. Moreover, 3M’s
proposed definition of this MDL’s scope is unworkable—in the Northern District of New York, for
example, there are at least 21 additional related actions involving the Hoosick Falls contamination
that do not name 3M, only Saint-Gobain and Honeywell. While a non-AFFF MDL would allow for
common discovery and motion practice with respect to 3M—the main producer of PFOA and
PFOS—it also would include far more site-specific issues, different modes of PFAS contamination,
and different PFAS chemicals (whereas the AFFF actions are limited to PFOA and PFOS
contamination). Such an MDL could quickly become unwieldy. As there are relatively few non-
AFFF actions, which are being managed effectively in their current districts, expansion of this MDL
to include non-AFFF actions is not warranted.

        Even excluding the non-AFFF actions, this MDL undoubtedly will be a complex litigation
from a judicial management perspective. With this in mind, we select the District of South Carolina
as the appropriate transferee district for this litigation. This district is not burdened by many MDLs
and has the capacity and resources to successfully guide this litigation. More importantly, the
Honorable Richard M. Gergel, who sits in this district, is an experienced transferee judge who can
prudently steer the litigation. Though a related action is not currently pending in the District of
South Carolina, that is not a bar to centralization in a particular district. See In re Bard IVC Filters
Prods. Liab. Litig., 122 F. Supp. 3d 1375, 1376-77 (J.P.M.L. 2015) (centralizing fifteen actions in
the District of Arizona though no constituent action was pending in that district).

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
District of South Carolina and, with the consent of that court, assigned to the Honorable Richard M.
Gergel for coordinated or consolidated pretrial proceedings; and

        IT IS FURTHER ORDERED that transfer of the actions listed on Schedule B is denied.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                        __________________________________________
                                                       Lewis A. Kaplan
                                                        Acting Chair

                                        R. David Proctor                Catherine D. Perry
                                        Karen K. Caldwell               Nathaniel M. Gorton
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IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                     MDL No. 2873


                                   SCHEDULE A

                 District of Colorado

     BELL, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:16-02351
     BELL, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:16-02352
     DAVIS, ET AL. v. 3M CORPORATION, ET AL., C.A. No. 1:16-02394
     ADAMS, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-00705
     BRAUN, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-00742
     GORDON, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01065
     SMITH, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01070
     PARKER, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01090
     MANN, JR., ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01091
     BLEICHERT, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01101
     GUTIERRES, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01140
     RODERICK, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01145
     CHISHOLM, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01152
     GOKEY, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01153
     SMITH, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01154
     WOLFE, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01155
     THOMAS, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01156
     THOMPSON, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01157
     KAHLER, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01158
     BARKER, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01161
     HICKS, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01163
     BUTTS, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01164
     HUTCHISON, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01165
     INGEMANSEN, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01167
     RICE, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01190
     HARTLEY, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01191
     HELM, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01192
     STACY, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01193
     CROW, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01196
     PADILLA, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01199
     TAYLOR, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01201
     DILWOOD, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01202
     SHERBAN, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01270
     JOHNSON, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01271
     GUTTENBERG, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01274
     CASTRO, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01278
     OQUENDO, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01281
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   GARCIA, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01282
   MCCLOSKEY, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01285
   NISKERN, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01288
   GIBSON, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01294
   HALL, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01298
   KELLY, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01301
   WALKER, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:18-01302

               District of Delaware

   ANDERSON, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 1:18-00769

               Northern District of Florida

   EMERALD COAST UTILITIES AUTHORITY v. 3M COMPANY, ET AL.,
       C.A. No. 3:18-01445

               District of Massachusetts

   TOWN OF BARNSTABLE v. 3M COMPANY, ET AL., C.A. No. 1:16-12351
   BARNSTABLE COUNTY v. 3M COMPANY, ET AL., C.A. No. 1:17-40002
   CIVITARESE, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 1:18-10747
   CITY OF WESTFIELD v. 3M COMPANY, ET AL., C.A. No. 3:18-30027

               Eastern District of New York

   GREEN, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:17-02566
   SINGER, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:17-06962
   SUFFOLK COUNTY WATER AUTHORITY v. THE 3M COMPANY, ET AL.,
         C.A. No. 2:17-06982
   AYO, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:18-00373
   HAMPTON BAYS WATER DISTRICT v. THE 3M COMPANY, ET AL.,
         C.A. No. 2:18-01996
   SHIPMAN v. THE 3M COMPANY, ET AL., C.A. No. 2:18-02496
   PY, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:18-03225

               Southern District of New York

   ADAMO, ET AL. v. THE PORT AUTHORITY OF NEW YORK AND NEW JERSEY,
        ET AL., C.A. No. 7:17-07131
   FOGARTY, ET AL. v. THE PORT AUTHORITY OF NEW YORK AND NEW
        JERSEY, ET AL., C.A. No. 7:17-07134
   MILLER, ET AL. v. THE PORT AUTHORITY OF NEW YORK AND NEW JERSEY,
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         ET AL., C.A. No. 7:17-07136
   CITY OF NEWBURGH v. UNITED STATES OF AMERICA, ET AL.,
         C.A. No. 7:18-07057

               Eastern District of Pennsylvania

   BATES, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:16-04961
   GRANDE, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:16-05380
   YOCKEY, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:16-05553
   FEARNLEY, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:16-06416
   MENKES, ET AL. v. 3M COMPANY, ET AL., C.A. No. 2:17-00573
   ZYSK, ET AL. v. 3M COMPANY, ET AL., C.A. No. 2:18-02036
   GILLEN v. THE 3M COMPANY, ET AL., C.A. No. 2:18-02037
   VOELKER, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:18-02038
   GENTLES v. THE 3M COMPANY, ET AL., C.A. No. 2:18-02039
   SATURNO v. THE 3M COMPANY, ET AL., C.A. No. 2:18-02040
   GRANDE v. THE 3M COMPANY, ET AL., C.A. No. 2:18-02041
   BURBIDGE, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 2:18-02043
   EYNON v. 3M COMPANY, ET AL., C.A. No. 2:18-03387

               Eastern District of Washington

   ACKERMAN, ET AL. v. 3M COMPANY, ET AL., C.A. No. 2:18-00117
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IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                    MDL No. 2873


                                  SCHEDULE B

                 Northern District of Alabama

    WEST MORGAN-EAST LAWRENCE WATER AND SEWER AUTHORITY, ET AL.
          v. 3M COMPANY, ET AL., C.A. No. 5:15-01750
    TENNESSEE RIVERKEEPER INC. v. 3M COMPANY, ET AL.,
          C.A. No. 5:16-01029
    KING, ET AL. v. WEST MORGAN-EAST LAWRENCE WATER AND SEWER
          AUTHORITY, ET AL., C.A. No. 5:17-01833
    ARNOLD v. WEST MORGAN-EAST LAWRENCE WATER AND SEWER
          AUTHORITY, ET AL., C.A. No. 5:18-01441

                 Western District of Michigan

    ZIMMERMAN, ET AL. v. THE 3M COMPANY, ET AL., C.A. No. 1:17-01062

                 District of Minnesota

    CITY OF LAKE ELMO v. 3M COMPANY, C.A. No. 0:16-02557

                 Northern District of New York

    LUCEY v. SAINT-GOBAIN PERFORMANCE PLASTICS CORP., ET AL.,
         C.A. No. 1:17-01054
    WICKENDEN, ET AL. v. SAINT-GOBAIN PERFORMANCE PLASTICS CORP.,
         ET AL., C.A. No. 1:17-01056
    ANDRICK, ET AL. v. SAINT-GOBAIN PERFORMANCE PLASTICS CORP.,
         ET AL., C.A. No. 1:17-01058
